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 6                               UNITED STATES DISTRICT COURT
 7                                    DISTRICT OF NEVADA
 8                                               ***
 9 UNITED STATES OF AMERICA,           )
                                       )
10              Plaintiff,             )
                                       )
11 vs.                                 )                2:10-cr-575-JCM-VCF
                                       )
12 FREDERICO MORAN,                    )
   aka Rodrigo Castellon-Huizar,       )
13                                     )                      ORDER
                Defendant.             )
14 ___________________________________ )
15         On October 21, 2011, the court granted Michael L. Becker’s “Motion to Withdraw as
16 Counsel” (#116). Therefore;
17         IT IS HEREBY ORDERED that the Federal Public Defender is appointed in place of
18 Michael L. Becker, Esq. for the purpose of appeal.
19         IT IS FURTHER ORDERED that Mr. Becker shall forward the file to the Federal Public
20 Defender forthwith.
21
22         DATED this 7th day of November, 2011.
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24                                                      ___________________________________
                                                        CAM FERENBACH
25                                                      UNITED STATES MAGISTRATE JUDGE
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